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                                                 THE GrrY oF   NEWYonr
Hon. Sylvia O. Hinds-Radix                      LAw DnpaRTMENT                  Nicholas R. Ciappetta
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                                                                        August 23,2022



         BY ECF
         Honorable Gary R. Brown
         United States District Court
         Eastem District of New York
         100 FederalPlaza, Courtroom 940
         Central Islip, NY 11722

                             Re: DavidYanchoff^ et. al v.LetitiaJames. et a|.,22 Cy 4075 (GRB)(ST)

         Dear Judge Brown:

                             I
                           am an attorney in the office of Hon. Sylvia O. Hinds-Radix, Corporation
         Counsel of the City of New York. I submit this letter on behalf of Defendant Eric Gonzalez,
         District Attorney for Kings County (District Attorney Gonzalez), sued herein in his official
         capacity, in accordance with Section II(f) of your Honor's Individual Practice Rules, to request a
         pre-motion conference in anticipation of filing a motion to dismiss the Amended Complaint
         pursuant to Federal Rule of Civil Procedure 12(b)(1).t
                        Plaintiffs, three natural persons and one nonprofit organization, filed this action
         seeking a declaratory judgment and preliminary and permanent injunctive relief concerning the
         State of New York's ban on the acquisition and possession of assault weapons as that term is
         defined in New York Penal Law (Penal Law) $ 265.00(22). As Plaintiffs acknowledge, this
         restriction was previously upheld by the Second Circuit Court of Appeals in New York State
         Rifle & Pistol Ass'n" Inc. v. Cuomo,804 F.3d 242 (2d Cir. 2015). Plaintiffs seek to relitigate
         this issue based on the recent decision by the United States Supreme Court in New York State
         Rifle & Pistol Ass'n. Inc. v. Bruen,I42 S. Ct.2IlI,597 U.S._, 2022U.5. LEXIS 3055
         (2022).


         I Upon information   and belief, it does not appear that District Attorney Gonzalez has been properly
         served in accordance with Federal Rule of Civil Procedure 4.
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                The Amended Complaint is devoid of a single allegation against District Attorney
 Gonzalez, and he is named herein simply because he has the authority to charge someone who
 violates the ban on assault weapons. Regardless, the Amended Complaint is fatally flawed
 because no plaintiff can establish Article III standing.

                 Plaintiff Firearms Policy Coalition, Inc. (FPC) unequivocally states that it brings
 this action "on behalf of its members...." Amended Complaint at fl 11. Thus, FPC is clearly
 asserting associational standing based on injuries to its members rather than the entity itself. The
 Second Circuit, however, has clearly foreclosed such a claim where, as in this case, the
  organization sues under 42 U.S.C. $1983. SeeNnebe v. Daus,644F.3dl47,156 (2dCir.20ll);
 see also New York State Citizens' Coal. for Child. v. Poole,922F.3d69,74-75 (2d Cir. 2019)
 ("[T]his Court has held that organizations suing under Section 1983 must, without relying on
 their members' iniuries, asseft that their own injuries are sufficient to satisfu Article III's
 standing requirements."). Since FPC asserts no injuries of its own, it lacks standing and its
 claims must be dismissed.
                The individual plaintiffs attempt to plead standing fares no better. Initially, it
 should be noted that the definition of "assault weapon" in Penal Law $ 265.00(22) covers certain
 semiautomatic rifles, semiautomatic shotguns, and semiautomatic pistols based on features of the
 weapon, such as a bayonet mount or flash suppressor. The individual plaintiffs do not allege that
 they desire to purchase semiautomatic shotguns or semiautomatic pistols. Nor do they describe
 the type of banned feature(s) that would bring their assault weapon of choice within the ambit of
 Penal Law $ 265.00(22). As such, their request for declaratory and injunctive relief paints with
 far too broad of a brush.2
                 The individual plaintiffs' pre-enforcement challenge appears to base standing on
 the threat of prosecution for possession of a banned assault weapon. While such claims are
  cognizable, the threatened injury must be "sufficiently imminent." Adam v. Barr,792 Fed.
 Appx. 20,2l (2d Cir. 2019) (citing Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159
 (2014)). The Amended Complaint does not meet this standard because there are no allegations
 that the individual plaintiffs have concrete plans to violate the Penal Law. Secondly, there are no
 facts in the Amended Complaint to show a credible threat of prosecution - there are no
 allegations that the individual plaintiffs have been prosecuted in the past or have been threatened
 with enforcement of the statutes at issue herein. Therefore, they have not shown an injury in fact
 for standing. Similar challenges to banned weapons have been dismissed where plaintiffs
 likewise failed to allege facts to support an actual or imminent injury. See Frey v. Bruen,2022
 U.S. Dist. LEXIS 31053 (S.D.N.Y. Feb.22,2022); Does v. Suffolk Cnty.,2022 U.S. App.
 LEXIS 19094 (2d Cir. Iune 25, 2021); Sibley v. Watches, 501 F. Supp. 3d 210 (W.D.N.Y.
 2o2o).3




 2Plaintiff Vanchoff, for example, only alleges a desire to purchase an assault weapon, "particularly   an
 AR-15 style rifle...." See Amended Complaint atl39.
 3 The claims   by Plaintiffs David Vanchoff and Andrew Cross are even more conjectural. As neither
 resides in Kings County, the threat of prosecution by District Attorney Gonzalez is remote.




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                 For the reasons stated above, this Office requests a pre-motion conference on
 behalf of District Attorney Gonzalez to discuss a motion on the grounds set forth above. Thank
 you in advance for your consideration of this matter.




                                                          icholas Ciappetta
                                                         Senior Counsel




                                                 J
